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                                IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO


  GARY L. MERCHANT,                                 CIVIL ACTION FILE

                   Plaintiff,                       NO. 1:17-cv-524-BLW

  v.
                                                    DEFENDANTS CORIZON, LLC, JOHN
  CORIZON, L.L.C., JOHN MIGLIORI,                   MIGLIORI, M.D. AND DAVID AGLER,
  M.D., DAVID AGLER, M.D., WARDEN                   M.D.’S MOTION FOR SUMMARY
  KEITH YORDY, and JOHN/JANE DOES I-                JUDGMENT
  X,

                   Defendants.


         COME NOW Defendants, Corizon, LLC, John Migliori, M.D. and David Agler, M.D.

(hereinafter “Corizon Defendants”), by and through their counsel of record, the law firm of Parsons

Behle & Latimer, and pursuant to Federal Rule of Civil Procedure 56 hereby move this Court for

an Order granting Defendants Corizon, LLC, John Migliori, M.D. and David Agler, M.D.’s Motion

for Summary Judgment, thereby dismissing all claims against them.


DEFENDANTS CORIZON, LLC, JOHN MIGLIORI, M.D. AND DAVID AGLER, M.D.’S MOTION FOR
SUMMARY JUDGMENT - 1
4813-4404-8290v1
            Case 1:17-cv-00524-BLW Document 57 Filed 09/30/19 Page 2 of 3



         This Motion is supported by (i) the Memorandum in Support of Defendants Corizon, LLC,

John Migliori, M.D. and David Agler, M.D.’s Motion for Summary Judgment, (ii) Statement of

Undisputed Facts in Support of Defendants Corizon, LLC, John Migliori, M.D. and David Agler,

M.D.’s Motion for Summary Judgment, (iii) the Declaration of Dylan A. Eaton, (iv) the

Declaration of Harish Moorjani, M.D., (vi) the Declaration of Kathryn J. Wild, RN, MPA, CCHP-

RN, (vii) the Declaration of Gary M. Vilke, M.D., FACEP, FAAEM, (viii) the Declaration of

Jazmin Garibay, and (ix) the Declaration of Amanda Tillemans, all of which are filed concurrently

herewith.

         DATED this 30th day of September, 2019.

                                            PARSONS BEHLE & LATIMER


                                            By: /s/ Dylan A. Eaton
                                               Dylan A. Eaton
                                               Andrew R. Alder
                                               Counsel for Defendants Corizon, LLC,
                                               John Migliori, M.D. and David Agler, M.D.




DEFENDANTS CORIZON, LLC, JOHN MIGLIORI, M.D. AND DAVID AGLER, M.D.’S MOTION FOR
SUMMARY JUDGMENT - 2
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           Case 1:17-cv-00524-BLW Document 57 Filed 09/30/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 30th day of September, 2019, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


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 (Counsel for Plaintiff)                        (Counsel for Idaho Department of Correction
                                                and Warden Keith Yordy)




                                             By: /s/ Dylan A. Eaton
                                                Dylan A. Eaton
                                                Andrew R. Alder




DEFENDANTS CORIZON, LLC, JOHN MIGLIORI, M.D. AND DAVID AGLER, M.D.’S MOTION FOR
SUMMARY JUDGMENT - 3
4813-4404-8290v1
